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                           NO. 22-CCV-070378

RICHARD P. JONES &                      §          IN THE COUNTY COURT
MICHAEL JOSEPH BITGOOD                  §
A/K/A/ “Michael Easton”                 §
LEWIS BRISBOIS BISGAARD &               §
SMITH, LLP 1                            §
                                        §
VS.                                     §        AT LAW NO. THREE (3) OF
                                        §
KARINA MARTINEZ,                        §
MARIANNA SULLIVAN,                      §
IMPERIAL LOFTS, LLC                     §
DAVID OUBRE 2 &                         §
CHINASA OGBUREKE 3                      §      FORT BEND COUNTY, TEXAS

           PLAINTIFFS’ THIRD AMENDED PETITION
        FOR DECLARATORY RELIEF AND APPLICATION FOR
           TEMPORARY INJUNCTION PENDING TRIAL

TO THE HONORABLE JUDGE OF SAID COURT:

        COME NOW Richard P. Jones and Michael Joseph Bitgood, a/k/a/

“Michael Easton” as well as Lewis, Brisbois, Bisgaard & Smith LLP,

from hereinafter Plaintiffs, who bring this suit against Karina

Martinez, Marianna Sullivan, Imperial Lofts, LLC, David Oubre, and

Chinasa Ogbureke, and in support they would show as follows:


        1
            See TRCP 37 and 39.
        2
            See TRCP 37 and 39.
        3
            See TRCP 37 and 39.
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                                                         EXHIBIT 5
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       I. JURISDICTION, VENUE, AND DISCOVERY LEVEL

1.     All natural Plaintiffs are residents and citizens of Fort Bend

County, Texas. Lewis Brisbois Bisgaard & Smith, LLP, is a domestic

LLP formed under the laws of, and registered with, the Texas Secretary

of State, with its principal offices in Fort Bend County, Texas.

2.     Defendants Martinez and Sullivan are individuals who are

residents of, and who do business in Fort Bend County, Texas.

Imperial Lofts, LLC, is an entity authorized to do business in Texas,

located and doing business in Fort Bend County, Texas. David Oubre,

and Chinasa Ogbureke, on behalf of Martinez, Sullivan, and Imperial

conduct business in Fort Bend County, Texas using the Plaintiff LLP’s

name in an illegal and unauthorized manner reasonably calculated to

create mass confusion and damage Plaintiff LLP.

3.     Venue is proper in Fort Bend County, Texas, based on Tex. Civ.

Prac. & Rem. Code Ann. §15.017.

4.     This Court also has subject matter jurisdiction over the claims

raised by Plaintiffs, in that all or part of the torts and crimes alleged in

this petition occurred in Fort Bend County, Texas.



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5.     Plaintiffs intend that Discovery Level III apply in this case.

6.     The amount in controversy at the time of the filing of this petition

exceeds the minimal amount required by law, and does not, at this

time, exceed the maximum jurisdictional limits of this Court exclusive

of interest, attorney’s fees, and punitive damages.4

                     II. CITATIONS AND SERVICE

7.     Defendants Karina Martinez, Marianna Sullivan, and Imperial

Lofts, LLC, have appeared and are before the Court.

8.     Defendant David Oubre may be served at his place of business at

24 Greenway Plaza, Suite 1400, Houston, Texas 77046. The Clerk is

requested to issue one citation for David Oubre for service by private

process server.

9.     Defendant, Chinasa Ogbureke, may be served at her place of

employment at 24 Greenway Plaza, Suite 1400, Houston, Texas 77046,

for service by private process server.




       4
        Because criminal conduct as defined by the laws of this state
and the laws of the United States was committed by the Defendants,
the statutory cap on punitive damages does not apply.
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                        III. BACKGROUND FACTS

10.     “Nolan Red” is a real estate company/corporation, well, sort of.

The Secretary of State shows no corporate charter nor authorization for

a company named “Nolan Red” to do business in Texas. Nolan’s latest

iteration for the purposes of fraud is NRES Holdings.

11.     The closest–named entity found at the Texas Secretary of State is

“Nolan Real Estate Services, Inc.,” which currently has no right to do

business in Texas.

12.     Nolan Real Estate Services, Inc., forfeited its right to do business

in Texas after acquiring a series of residential apartment complexes

then failing to follow Texas law and pay its taxes.

13.     To get around that slight issue, Nolan Red retained and used the

commercial services of Hoover Slovacek to assist them in perpetrating

various frauds, crimes, and torts against not only the State of Texas,

but also unsuspecting past tenants, potential tenants, and of course,

the Courts of the State of Texas.




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14.     As part and parcel to these continuing and never–ending circular

frauds, Hoover Slovacek apparently directs and advises the other

Defendants in this case on how to illegally conceal their true identity,

and appear in court as non-entities with no standing to sue the

unsuspecting and gullible citizen so that the citizen is left with no

recourse.

15.     Hoover Slovacek also appears to stand by while the Defendants

engage in criminal conduct, fraud, and directly retaliate against anyone

who dares to question this very profitable, and very illegal,

relationship.

16.     As just one recent example, Plaintiffs would show that from

February 1, 2018, up until December 17, 2021, Imperial Lofts LLC,

using the trade name or moniker “Imperial Lofts,” brought and

prosecuted no less than seven fraudulent eviction petitions with no

legal standing to do so.

17.     Of those seven or so petitions, Plaintiffs were the victims of this

scam, where Hoover Slovacek was on the opposing side.




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18.     To carry out the process of protecting the true corporate criminal,

Nolan Real Estate, Hoover Slovacek apparently directed Nolan Red’s

low–level minions, Karina Martinez and Marianna Sullivan, to engage

in actions which constitute criminal conduct, including, but not limited

to:

        a.    Tampering with governmental records;

        b.    Suborning and committing perjury to illegally invoke the
              jurisdiction of the Courts of Fort Bend County;

        c.    Fraudulently billing Fort Bend County under the CARES
              ACT, commonly known as the Rental Assistance Program;

        d.    Directing its minions to also extort tenants for non-existent
              fees; and

        e.    Threaten with swift and very illegal court actions, anyone
              who would stand up to Sullivan or Martinez, their thefts, or,
              dare to complain about Nolan and its fictitious and
              non-existent entities.

19.     After Defendants were discovered to be perpetrating these crimes

and frauds upon not only the Plaintiffs, but also upon the integrity of

the Courts, they doubled down on December 17, 2021, after being

challenged. Hoover Slovacek apparently told Nolan Red to immediately

file an assumed name certificate outside of Fort Bend County so that it


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would not be readily located, under the mistaken belief that this

fraudulent filing with the Secretary of State was going to somehow

wipe clean their frauds, felonies, and the torts inflicted on Plaintiffs.

20.     Plaintiffs would further show that Martinez and Sullivan, with

the apparent blessing of Hoover Slovacek

        a.    invaded the privacy rights of Plaintiffs;

        b.    haled them into court with no standing to do so; and

        c.    committed felony offenses to intimidate and silence the
              Plaintiffs;

        d.    procured unfounded criminal charges against Easton; and,

        e.    schemed to procure unfounded charges against Jones using
              Edmunds’ creative “default;” and

        f.    contracted with, and aided, abetted, and encouraged Oubre,
              and Ogbureke to file pleadings and papers in the Courts of
              Fort Bend County, Texas, using the Plaintiffs’ LLP—an act
              they were not authorized to do—as the name Lewis Brisbois
              belongs to the Plaintiff LLP, not the defendants or their co-
              conspirators, as seen by Exhibit “A” annexed hereto and
              duly incorporated herein by reference, an initial assumed
              name filing in Fort Bend County, Texas, that was later
              followed up with an LLP formation with the same name.




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21.     Plaintiffs seek a declaration from the Court, by way of jury

charge, under Chapter 37 of the Texas Civil Practice and Remedies

Code that the Defendants have engaged in a scheme and plan and have

conduced an enterprise directed at concealing Nolan Red’s true

identity, stolen the identity of Plaintiff , the domestic LLP, to carry out

and execute a scheme to defraud the taxpayers as well as the State of

Texas, which has visited harm—not only on these Plaintiffs—but also

on countless, otherwise law–abiding citizens. Clearly, there cannot be

a Plaintiff named Lewis, Brisbois, Bisgaard & Smith LLP (from

hereinafter the “Lewis LLP”), and a set of imposters, Oubre and

Ogbureke, signing their names to pleadings and documents without the

consent of the LLP.5 This is tantamount to the Lewis LLP suing

itself—something only Brice Beale, from Hoover Slovacek, has

managed to accomplish. For these reasons, Plaintiffs seek both a

temporary and permanent injunction to enjoin all the defendants from

using the Plaintiff LLP’s name anywhere in the State of Texas, along

with all the proceeds that were billed and collected by the phony Lewis


        5
      See Exhibit “B” annexed hereto and duly incorporated herein by
reference as if set forth verbatim.
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Brisbois since May 26, 2022, along with a declaration that the phony

Lewis Brisbois has no partnership, limited or otherwise in the State of

Texas.6

22.     Plaintiffs would show that in at least five cases brought by

Martinez and Sullivan before justice of the peace Justin Joyce of Fort

Bend Precinct Three (pre–2022, now Precinct 4), evicted the tenants

when neither Martinez nor Sullivan—improperly and by felony

conduct—purported to invoke the jurisdiction of the court and, when

the issue of jurisdiction was raised in at least one case, the justice of

the peace essentially stated that was not his concern.

23.     Plaintiffs will further show that Sullivan/Martinez and Imperial,

with the guidance of Hoover Slovacek, in return for rental concessions

and other gifts given to, routinely use, by way of bribery, certain



        6
        By way of clear explanation, the phony Lewis Brisbois
voluntarily gave up its right to do business in Texas under that name,
when despite repeated warnings from the Secretary of State directed at
Oubre, and to its California office to renew, Oubre did nothing, as the
Secretary of State allowed him to surrender the name, and allowed the
foreign LLP to expire, thereby allowing the domestic LLP to be formed,
registered and approved by the Texas Secretary of State. Like any
other race in the world, the first to the “finish line” is declared the
“winner” by the Secretary of State.
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members of the Sugar Land police department to harass, intimidate,

and to threaten anyone who opposes them with the threat to procure

criminal charges to gain an advantage in any civil action against them,

and to divert attention away from the serious felony crimes committed

by Martinez and Sullivan, which threaten the core foundation of public

integrity. In addition, and, using attorney David Oubre, Martinez and

Sullivan set out to interfere with the core functions of the Courts; to

press law–enforcement to again charge Easton with a criminal offense;

and to use Oubre to make false statements to the Courts so as to

conceal the nature and identity of the criminal offenses committed by

Martinez and Sullivan.

24.     In Easton’s case, on or about January of 2022, and in response to

the false narrative being put out by Sullivan and Martinez, Easton

responded to an inquiry by Jones’ attorney by sending her an e-mail

that discussed the very substance and truth of the matters at Imperial

Lofts which also exposed the viciousness of Sullivan, and the mental

delusions of Martinez. The e-mail in question was copied to all parties,

and all counsel. More importantly, counsel for Martinez,



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Sullivan, and Imperial–Daniel Edmunds of Hoover Slovacek—

took the email and filed it, thereby making it a matter of public

record and placing into dispute a flurry of matters that no one

would have ever placed in the pleadings or made public.

25.     On or about January of 2022, Madam Sullivan, with the

assistance of Edmunds, induced another of her submissives at the

Sugar Land Police Department to initiate a criminal charge against

Easton for an alleged violation of Tex. P. Code 42.07, with Edmunds

detailing and making the charge public in the pleadings, while

the City of Sugar Land was resisting all attempts to confirm it, and to

initiate an internal affairs complaint.

26.     In Jones’ case, and after Jones prevailed in the illegal eviction

scheme, Madam Sullivan, and Edmunds, then manufactured a default

so that they could once again evict Jones, and then have their

submissives at the Sugar Land Police Department arrest and file on

Jones for the offense of criminal trespass under Tex. P. Code 30.05 (a)

(2).




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                          IV. CAUSES OF ACTION

27.     The foregoing conduct constitutes the torts of invasion of privacy,

breach of contract, fraud, abuse of process, criminal retaliation, civil

conspiracy, malicious prosecution, intentional infliction of emotional

distress, theft, and in Jones’ case it is particularly grounded in a racial

animus, as Sullivan her counsel continue to harass and threaten Jones

with more illegal action if he fails to capitulate to the will of the

Defendants.

                        PRAYER FOR RELIEF

        WHEREFORE PREMISES CONSIDERED, Plaintiffs pray that

judgment be rendered in their favor for all actual damages, attorney’s

fees, pre– and post–judgement interest, and punitive damages as the

conscience of the good citizens of Fort Bend County will allow. In

addition under Chapter 37, Plaintiffs pray for declaratory relief as set

forth above. Plaintiffs pray for general relief.




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                         Respectfully submitted,

/s/Michael Joseph Bitgood          /s/ Susan C. Norman
a/k/a/ Michael Easton              Susan C. Norman
d/b/a/ “Michael Easton”            State Bar No. 15083020
503 FM 359, Suite 130-220          Law Office of Susan C. Norman
Richmond, Texas 77406              P. O. Box 55585
281-415-8655                       Houston, Texas 77255
281-832-634-4718 (Fax)             713-882-2066
EastProLaw@msn.com                 281-402-3682 Fax
                                   SueNorman@SueNormanLaw.com
                                   Counsel for Richard P. Jones &
                                   Lewis Brisbois Bisgaard & Smith,
                                   LLP, a Texas Domestic Partnership.


                     CERTIFICATE OF SERVICE

     On June 15, 2022, I certify that I served a true and correct copy of
Plaintiffs’ Amended Petition via the Texas e-filing system.


                                         /s/ Susan C. Norman
                                         Susan C. Norman




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                                                                                                   EXHIBIT A



                           ASSUMED NAME CERTIFICATE FOR CERTAIN UNINCORPORATED PERSONS
                            -            CERTIFICATEor OWNERSHIP FOR BUSINESSOR PROFESSION
                                                 NOTICE: THIS CERTIFICATEOF OWNERSHIP PROPERLYEXECUTEDIS TO BEFILEDIMMEDIATELY
                                                                            WITH THE COUNTY CLERKAS PROVIDED BY LAW.

                                                                                              IAURA RICHARD
                                                                      COUNTY CLERK, FORT BEND COUNTY, TmS
                                                          301JACKSON, RICHMOND, TEXAS 77469-3108                                | (281) 341-8685

          ASSUMEDNAMEunderwhichthe businessor professional
                                                        servicesari is to beconducted
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          City        Richmond                                                                                  State: Texas                       Zip Code:   77406-2195
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          Theperiod, notto exceed(10)years,duringwhichthe assumednamewillbe usedis
          I hereby statethat this registrant is:                      (Markappropriatebox.)
                                                                                                                           10                years.BCCg 71.052("3)
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              ID      AN INDIVIDUALBelowis my "fvlInameand residenceaddress.BCC 71.052(2) CA)                                                                                           o
                 O    A PARTNERSHIP.      Belowis the nameand officeaddressof "theventureor partnership;the full nameof eachjoint ventureor generalpartner;                            w
                      and eachjoint venturers or generalpartner'sofficeaddress.if the ventureor partneris notan individual.BCC$ 71,052(2) (B)                                          w
                 O    AN ESTATE.Below is the name and address (if any) of the estate; the full name of each representativeof the estate; and each
                      representative residenceaddressif {he representativeis an individual,or the representative'sofficeaddress,if the representativeis notan
                      individual.BCC5 7.1,052(2) (C).
                 O    A REALESTATEINVESTMENTTRUST.Belowis the nameand addressof the trust the full nameof each trusteemanager;and each
                      trusteemanagers residenceaddress.if the trusteemanageris an individual,or the trusteemanager'sofficeaddress if the trusteemanager
                      is not an individual BCC6 71.052(2) (D)
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          and furtherstatethat this registrantis not& limitedpartnership,limitedliabilitycompany,limitedliabilitypartnership,or foreignfifingentity.
          BCC571,052 (4)                                                                                         ^ ,          ,         Q




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          Name:                                                                                           Signature,'

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          Name:                                                                                           Signature:

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                                                                       EXHIBIT A



       FORUSE BY NOTARYAND CLERKCF THECOURT,DEPUTY.TheStateof Texasand Countyof FortBend,.




       amepurp

                                                         cc




               INFORMATION  WHEREDOCUMENTSHOULDBE RETURNED
                            (to be completedby applicant}:
         In the spacesbelow,clearlyprint the name,address,city, state, and zip code
         wherethis documentshouldbe returned

          Michael Joseph Bit.good

          503 n'i   359-130, Suite 116

          Richmond, Texas 77406-2.195




                                                                                            FILED AND RECORDED
                                                                                            OFFICI"AL PU^ICoRECORDS


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2 of                                                                                                         Exhibit A, 6-15-22
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                              EXHIBIT B




                                                           Exhibit B, 6-15-22
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